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8                                   UNITED STATES DISTRICT COURT

9                                  EASTERN DISTRICT OF CALIFORNIA
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11   ADRIANA LEDESMA, et al.,                    ) Case No.: 1:14-cv-01634 DAD JLT
                                                 )
12                  Plaintiffs,                  ) ORDER AFTER SETTLEMENT CONFERENCE
                                                 )
13          v.                                   )
     COUNTY OF KERN, et al.,                     )
14
                                                 )
15                  Defendants.                  )
                                                 )
16                                               )

17           On November 17, 2016, the Court held a settlement conference in this matter. The parties were

18   able to agree to settle the case. Though the settlement terms must be approved by the Kern County

19   Board of Supervisors, the defendants’ attorney agreed to recommend that it do so. Based upon the

20   foregoing, the Court ORDERS:

21          1.      As soon as possible, though targeting November 29, 2016, the settlement proposal

22   SHALL be presented to the Kern County Board of Supervisors with County Counsel recommending

23   the settlement be approved;

24          2.      By November 23, 2016, counsel for the defendants SHALL provide a draft settlement

25   agreement to plaintiffs’ counsel;

26          3.      No later than December 16, 2016, the guardians ad litem for the two minors SHALL file

27   their petitions for approval of the minors’ compromise;

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1         4.    All other dates, conferences and hearings, including the pretrial conference and the trial

2    are VACATED.

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4    IT IS SO ORDERED.

5      Dated:   November 17, 2016                          /s/ Jennifer L. Thurston
6                                                  UNITED STATES MAGISTRATE JUDGE

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